Case o-Lo-/oo40-reg VOC s14-59 FiedU4icoil/f Entered O4/co/1l/ Loi40li4o

Exhibit E
Case o-Lo-/oo40-reg VOC 214-59 Filed U4icoil/f Entered O4/co/1l/ Loi40li4o

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
Chapter 11
DOWLING COLLEGE f/d/b/a DOWLING
INSTITUTE f/d/b/a DOWLING COLLEGE Case No. 16-75545 (REG)
ALUMNI ASSOCIATION f/d/b/a CECOM
a/k/a DOWLING COLLEGE, INC.

Debtor.

 

x

CERTIFICATION UNDER GUIDELINES FOR FEES AND
DISBURSEMENTS FOR FIRST INTERIM APPLICATION OF
SILVERMANACAMPORA LLP, COUNSEL TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS, FOR ALLOWANCE
OF COMPENSATION FOR PERIOD DECEMBER 12, 2016 THROUGH
AND INCLUDING MARCH 31, 2017, AND REIMBURSEMENT OF EXPENSES

Ronald J. Friedman, a member of the firm of SilvermanAcampora LLP (the “Applicant’),
hereby submits this certification in compliance with General Order 613 dated June 4, 2013 re:
Guidelines for Fees and Disbursements for Professionals in Eastern District of New York
Bankruptcy Cases and Paragraph D.1 of the Appendix B Guidelines for Reviewing Applications
for Compensation and Reimbursement of Expenses Filed Under United States Code by
Attorneys in Larger Chapter 11 Cases Promulgated by the Office of the United States Trustee
(collectively, the “Guidelines’), and respectfully sets forth and represents as follows:

1. Applicant served as counsel to the Official Committee of Unsecured Creditors
(the “Committee”) of Dowling College f/d/b/a Dowling Institute f/d/b/a Dowling College Alumni
Association f/d/b/a Cecom a/k/a Dowling College, Inc. (the “Debtor’), the above-captioned
debtor and debtor-in-possession in this chapter 11 case.

2. On behalf of Applicant, | submit that | have read Applicant’s First Interim
Application for Allowance of Compensation and Reimbursement of Expenses (the
"Application")' and to the best of my knowledge, information and belief, formed after

reasonable inquiry, the Application complies with the Guidelines. Moreover, to the best of my

 

‘All capitalized terms used but not otherwise define herein shall have the meaning given to them in the Application.

BPOWERS/2058559. 1/066648
Case o-Lo-/oo40-reg VOC 214-59 Filed U4icoil/f Entered O4/co/1l/ Loi40li4o

knowledge, information, and belief, formed after reasonable inquiry, the fees and disbursements
sought within the Application fall within the requirements set forth in the Guidelines.

3. Pursuant to the Monthly Compensation Order, Applicant has provided a copy of
its monthly invoices to the Debtor, the Debtor's counsel, the Committee, the Debtor’s secured
creditors, and the United States Trustee. In addition, a copy of the Application, which includes
copies of Applicant’s monthly invoices, was provided to the Debtor, the Debtor’s counsel, the
Committee, the Debtor’s secured creditors, and the United States Trustee at least 21 days prior
to the hearing date on the Application.

4, Additionally, this Certification is submitted pursuant to Rule 2016(a) of the
Federal Rules of Bankruptcy Procedure in support of the Application.

5. All services for which Applicant seeks compensation are professional and para-
professional services performed for and on behalf of the Committee and not on behalf of any
other person or entity.

6. In accordance with 18 U.S.C. § 155, neither | nor any partner, associate or
counsel of Applicant has entered into any agreement, express or implied, with any other party in
interest for the purpose of fixing the amount of any of the fees or other compensation to be
allowed out of or paid from the Debtor’s estate.

7. In accordance with Bankruptcy Code § 504, no agreement or understanding
exists between me, Applicant, or any partner, associate or counsel thereof, on the one hand,
and any other person or entity, on the other hand, for the division of the compensation the
Applicant may receive or has received for services rendered in connection with this case, nor
will any division of fees prohibited by Bankruptcy Code § 504 be made by me or any partner,
associate or counsel of Applicant.

8. The fees and disbursements sought in the Application are billed at the rates in
accordance with the practice customarily employed by Applicant and generally accepted by

Applicant's clients in bankruptcy and non-bankruptcy matters. In the twelve (12) months prior to

2 BPOWERS/2058559. 1/066648
Case o-Lo-/oo40-reg VOC 214-59 Filed U4icoil/f Entered O4/co/1l/ Loi40li4o

this Application, Applicant's blended hourly rate for all non-bankruptcy retentions is $447.67.
Applicant’s blended hourly rate in this Application is $520.05.

9. Prior to Applicant's retention by the Committee, the Committee approved a thirty
(30) week budget with respect to Applicant’s services in this case (the “Budget”). A copy of the
Budget is annexed hereto as Exhibit 1. To date, Applicant has not exceeded the total amount
provided for in the Budget. As of the date hereof, Applicant has complied with the staffing plan
for its representation of the Committee that is set forth in the Committee application to retain
Applicant as its counsel.

10. | further certify that Applicant does not make a profit on its reimbursable services.
Applicant, in seeking reimbursement for a service justifiably purchased or contracted for,

requests reimbursement only for the amount billed and paid by Applicant.

Dated: Jericho, New York
April 27, 2017

S/ Ronald J. Friedman
Ronald J. Friedman

SILVERMANACAMPORA LLP
Counsel to the Committee

100 Jericho Quadrangle, Suite 300
Jericho, New York 11753

(516) 479-6300

3 BPOWERS/2058559. 1/066648
Case o-Lo-/oo40-reg VOC 214-59 Filed U4icoil/f Entered O4/co/1l/ Loi40li4o

Exhibit 1
Case o-Lo-/oo40-reg VOC 214-59 Filed U4icoil/f Entered O4/co/1l/ Loi40li4o

DOWLING COLLEGE, CH. 11 CASE No. 16-75545 (REG)
SILVERMANACAMPORA LLP
COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

30 WEEK BUDGET

 

 

 

 

 

 

 

 

 

 

 

 

 

Project Category Estimated Hours Estimated Fees

Asset Recovery and Sale 75 $35,000
Case Administration oo 140 $35,000
“Claims Administration and Objections 59 p $30,000
Creditors Meeting | 95 $50,000
Financing 60 $30,000

Litigation 30 $15,000 -
Retention Orders : 25 $10,000
Plan and Disclosure Statement 80 | $40,000
Total 555 $245,000

 

 

BPOWERS/2015917. 1/066648
